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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                           AT CLARKSBURG

                                                        )
                                                        )
     BIOGEN INTERNATIONAL GMBH                          )
     and BIOGEN MA INC.,                                )
                         Plaintiffs,                    )   Civil Action No. 1:17-cv-116-IMK
             v.                                         )
                                                        )
     MYLAN PHARMACEUTICALS INC.,                        )
                                                        )
                                  Defendant.            )

                         ORDER AS TO BILL OF COST SUBMISSION

             Having reviewed the unopposed motion of Defendant, Mylan Pharmaceuticals

     Inc., for an extension of the deadline to file its bill of costs, the Court is of the opinion to

     GRANT the motion and it is hereby ORDERED that the deadline for submission of a bill

     of costs is extended, and the parties shall submit any bills of costs to the Clerk on or

     before August 21, 2020.



                  July 15, 2020
     DATED:




                                                     IRENE M. KEELEY
                                                     UNITED STATES DISTRICT JUDGE
